EXHIBIT

  A
         1 reply 0 retweets 21 likes
         Show this thread
         Zoé Elise Thomas




                                                                                      riththewarluid@
         24 Dec 2019

         Zoé Elise Thomas Retweeted Zoé Elise Thomas

         Let me be clear. This is no longer an issue of academic freedom and defending
         controversial scholarship. This is an issue of student safety, an issue of gaslighting and
         manipulation, an issue of bullying and cruelty.

         Zoé Elise Thomas Retweeted
         Rebecca Futo Kennedy




                                                                                          kataplexis@
         23 Dec 2019

         Rebecca Futo Kennedy




                 Retweeted Ian Nurmi




1 of 4
         If any UT Austin students are willing to share with Ian their concerns about TH, he is
         making himself available.

         Rebecca Futo Kennedy




                 added,

         Ian Nurmi
         @i_nurmi
         Replying to @kataplexis @apistone @_iocheaira
         If any UT-Austin students want to share their stories but don't wish to do so publicly, I'm
         happy to talk to them and bring their concerns to the rest of the steering committee. My
         DM's, and email, are open.
         1 reply 8 retweets 23 likes
         Zoé Elise Thomas Retweeted
         Kelly McArdle
                                                                                         iocheaira_@
         23 Dec 2019

         Welcome to the field of Classics where it’s controversial to say that someone who promotes
         pedophilic relationships, asked undergrads to talk about their rapes for a class assignment,
         and claims women are too biased to think critically about rape law should be afraid.
         9 replies 27 retweets 260 likes
         Show this thread
         Zoé Elise Thomas
                                                                                      riththewarluid@
         23 Dec 2019

         Zoé Elise Thomas added,
         Kristina Killgrove
         Verified account @DrKillgrove
         Austin students want professor fired for writings on age of consent; UT says it’s protected
         speech http://statesman.com/news/20191204/austin-students-want-professor-fired-for-
         writings-on-age-of-consent-ut-says-itrsquos-protected-speech …




2 of 4                                                                                            2/12/20, 9:36 AM
            Austin students want professor fired for writings on
            age of consent; UT ...
            Lara Korte
            For weeks, University of Texas students have been protesting
            against and asking school leaders to fire professor...




         7:53 PM - 5 Dec 2019

           2 Retweets
           35 Likes
           Dr. HJC Lehmann
           Kiran Mansukhani
           crass iron skillet

           Rebecca Futo Kennedy

           Ellen Lee
           Dr. Joy Reeber
           Lucy “Public Universal Foe” Parr ♠
           Leah Bernardo-Ciddio
           -cj rice-

         1 reply 2 retweets 35 likes

              New conversation
              Zoé Elise Thomas
               @riththewarluid
              5 Dec 2019

         For my own mental health, I do not want to discuss this much in public fora. But I would be
         negligent in my role as a junior educator at UT if I did not defend my students. I fight for
         their protections and safety in the Graduate Student Assembly, and I will keep fighting.
         1 reply 0 retweets 22 likes
         Zoé Elise Thomas
                                                                                      riththewarluid@
         5 Dec 2019

         I condemn the behavior of this professor (as well as the others in my institution) who
         jeopardize the safety of me, my students, others in my department (both passed and yet to
         come), and all other students at UT.
         2 replies 0 retweets 20 likes
         Zoé Elise Thomas
                                                                                      riththewarluid@



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         5 Dec 2019

         I have many other emotions. Disgust, rage, fear, anxiety. It is a lot to parse, and Twitter is
         not the place to do it. Suffice to say: I am 100% behind these extremely brave
         undergraduates who are risking themselves in a system stacked against them to put an
         end to this BS.
         1 reply 0 retweets 18 likes
         Zoé Elise Thomas
                                                                                        riththewarluid@
         5 Dec 2019

         And, to be absolutely clear, I condemn ALL aspects of this behavior: rape apologism,
         pedophilia, abuse of undergrads, cruelty, gaslighting, misogyny, elitism, and every other
         form of nastiness involved.
         0 replies 0 retweets 19 likes

              End of conversation




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